Case 1:19-mc-22798-KMM Document 12 Entered on FLSD Docket 01/09/2020 Page 1 of 3

                                                .!.
                                                  .


                             UN ITED STATE S D ISTRICT CO UR T
                             SO U TH ERN D ISTRIC T O F FLO RID A
                                    CA SE N O .:1:19.M C-22798

   ln Re A pplication of
                                                                                  *

   MARIO MENA M ARQUA,                                              FILED BY                  D.C.
                           A pplicant
                                                                          JAy -8 2222
   pursuantto28U.S.C.j 1782                                                ANGELA E.NOBLE
                                                                          CLERK U S DIST Cm
   ForJudicialAssistance in Obtaining                                     s.o.oFil.
                                                                                  k.-MiAMI
   Evidence ForU se in a Foreign and
   lnternationalProceeding.



                             M O TIO N TO U NSEAL C O U RT FIL E

          M ario M enaM arqua(tdApplicanf')respedfully movesthisCourttounsealthecourtfile
   in the instantcase and,in support,statesasfollow s:

                 On July 8,2019,Applicanttiled an cxparte Application forJudicialAssistance

   Pursuantto 28U.S.C.j 1782 (theûtApplication'').(D.E.l1.TheApplication did notcontain a
   requestto sealthe courtfile.

                 OnDecember4,2019,theCourtheldahearingtoconsidertheApplication.gD.E.
   6).
          3.     Subsequently,on D ecem ber 9,2019,the Courtentered a sealed O rder granting in

   partanddenyinginpal4theApplication.LD.E.8).Specitically,theCourtauthorizedApplicantto
   serveasubpoena,along with theOrder,on Banco SantanderInternational(tûsantander'')within
   twenty-onedays.J.
                   tlsThereafter,theOrderprovidesthattheCourtwouldenteran orderunsealing
   the A pplication.1d.
Case 1:19-mc-22798-KMM Document 12 Entered on FLSD Docket 01/09/2020 Page 2 of 3




                      On or aboutJanuary 7,2019,Santander advised counselforA pplicantthatitw as

   going to give notice of the subpoena to its client, Shalico Financial & Com m ercial, lnc.

   (ttb;lzalic()55)                                      z>
                      O n January 8,20l9,counselfor Applicant was contacted by counselfor Shalico,

   who advised Shalico (i)wasaware ofthe subpoena served on Santander'
                                                                     ,(ii)wasawareofthe
   Application,but could not access it because it was sealed'
                                                            ,(iii) requested a copy of the
   Applicationand otherfilings;and(iv)advisedthatitwouldbefilinganobjection(eventhoughit
   has nothad the opportunity to review the Application or ascertain whether there are grounds for

   anobjection).
                      Counselfor Applicantcalled the Judge's cham bers and advised the 1aw clerk that

   twenty-onedayshad elapsed since the issuance ofthe subpoena and of Shalico'srequest.Given

   thatthe courtfile is sealed,counselfor Applicantdid notshare the Application or any other

   sealed tiling with counselfor Shalico,and is awaiting an order from the Courtunsealing the

   courttile before doing so.

                      As advised during the Decem ber4,2019 hearing,Applicantneedsthe discovery

   sought through the Application for use at a M arch 2020 hearing in the Foreign Proceeding.

   Before using the docum ents atthe hearing,A pplicantw illneed tim e to certify and apostille the

   docum ents.

            8.        Therefore,Applicantdoesnotwish to delay Shalicofrom filingitsobjection,and
   itisimperativethatShalico'sobjection (ifany)isresolvedin anexpeditedmanner.
                      There is no need to conductthis proceeding under seal.M oreover,Applicant

   acknowledges the public policy in favorofmaintaining filings open to the public and doesnot

   seek to departfrom thatpolicy.
Case 1:19-mc-22798-KMM Document 12 Entered on FLSD Docket 01/09/2020 Page 3 of 3




          W H EREFO RE,A pplicant,M ario M ena M arqua,respectfully requestthatthis Courtenter

   an order,in substantially similarform to the Proposed Orderattached asExhibitA,directing the

   Clerk to unsealthiscourttile.

                 D ate:January 9,2020               Respectfully subm itted,

                                                    SEQUOR LAW ,P.A.
                                                    1111BrickellAvenue,Suite 1250
                                                    M iam i,FL 33131
                                                    Telephone: (305)372-8282
                                                    Facsi ile: (305)3 2-8202
                                                                           *-
                                             By:
                                                    Fernando .M enendez,Esq.
                                                    FBN : 0018167
                                                    fmenendez@ seguorlam com
                                                    Cristina VicensBeard,Esq.
                                                    FBN :1l1357
                                                    cvicens@ sequorlaw.com


                                   CER TIFICA TE O F SERV IC E

          l HEREBY CERTIFY that a true and correct copy of the foregoing was filed via

   electronic tiling using the CM /ECF system w ith the Clerk of the Court w hich sent e-m ail

   notification ofsuch filing to al1CM /ECF participantsin th' ase o January ,2020.
                                                                               Y   .


                                                    Cristina V i ns Beard,Esq.
